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12
                              UNITED STATES DISTRICT COURT
13
                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
14
     LANNA RAE RENNA, et al.,                               Case No. 20-cv-2190-DMS (DEB)
15
16                          Plaintiffs,
           vs.                           PLAINTIFFS’ UNOPPOSED MOTION
17
                                         TO MODIFY ORDER SETTING
18   ROB BONTA, in his official capacity EARLY NEUTRAL EVALUATION
     as California Attorney General, et AND CASE MANAGEMENT
19   al.,                                CONFERENCE
20                      Defendants.
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         Plaintiffs’ Unopposed Motion to Modify Order Setting Early Neutral and Case Management Conference
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 1         Plaintiffs respectfully request, without opposition, that the Court modify the
 2   participation requirements of the Court’s previous order setting the early neutral
 3   evaluation conference and case management conference, Dkt. No. 23, as follows:
 4         The Court’s order currently provides: “all parties, party representatives,
 5   including claims adjusters for insured parties, and the principal attorney(s)
 6   responsible for the litigation must participate in the ENE. This appearance must be
 7   made with full and unlimited authority to negotiate and enter into a binding
 8   settlement. In the case of a corporate entity, an authorized representative of the
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     corporation who is not retained outside counsel must be present and must have
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     discretionary authority to commit the company to pay an amount up to the amount
11
     of the plaintiff’s prayer (excluding punitive damage prayers).”
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           As outlined in Plaintiffs’ ENE Statement, counsel for Plaintiffs and
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     Defendants have conferred by telephone on multiple occasions since the complaint
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     was filed. During these conferences, counsel have specifically discussed the
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     possibility of settlement and what any such settlement might look like. Counsel have
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     agreed that this case presents no realistic possibility of reaching a compromise or
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     settlement that would avoid further litigation. The case presents purely legal issues
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     over the constitutionality of the laws, policies, practices, and customs at issue, with
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20   Plaintiffs contending they are unconstitutional and must be enjoined and Defendants

21   contending they are lawful and must be upheld as such. Counsel have also discussed

22   this with Judge Sabraw who has communicated that he anticipates the case will
23   proceed into a dispositive motion phase and, if need be, trial, for these reasons.
24         As such, Plaintiffs respectfully request that the requirement of the
25   participation of all parties, party representatives, and authorized representatives of
26   corporate entity plaintiffs in the ENE conference be eliminated and that the
27   conference be allowed proceed solely with the participation of counsel for the
28   Plaintiffs and counsel for the Defendants, as the respective representatives of all
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         Plaintiffs’ Unopposed Motion to Modify Order Setting Early Neutral and Case Management Conference
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 1   parties to the case. Counsel for Defendants do not oppose this motion to modify the
 2   order accordingly. Otherwise, Plaintiffs will be required to procure the participation
 3   of at least seven other individuals to satisfy the requirement of the current order. All
 4   plaintiff-parties and plaintiff-representatives are surely invested in this case, and
 5   everyone is committed to resolving the matter as efficiently and effectively as
 6   possible. However, their participation in the ENE conference would not further
 7   resolution of the matter, since all parties agree that the case is simply not suitable for
 8   a resolution short of dispositive motion and/or trial proceedings.
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     Respectfully submitted,
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      Date: September 21, 2021                        /s/Raymond M. DiGuiseppe
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         Plaintiffs’ Unopposed Motion to Modify Order Setting Early Neutral and Case Management Conference
